        Case: 24-1820    Document: 24     Page: 1     Date Filed: 05/23/2024




       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                    ACO-106-E
                              Nos. 24-1820 & 24-1821

                              Bristol Myers Sqibb Co,
                                                  Appellant

                                         v.

          Secretary United States Department of Health and Human Services;
                Administrator Centers for Medicare Medicaid Services;
United States Department of Health and Human Services; Centers for Medicare Medicaid
                              Services; Ananda v. Burra

                             (D.N.J. No. 3-23-cv-03335)

                           Janssen Pharmaceuticals, Inc.,
                                                 Appellant

                                         v.

          Secretary United States Department of Health and Human Services;
                Administrator Centers for Medicare Medicaid Services;
United States Department of Health and Human Services; Centers for Medicare Medicaid
                              Services; Ananda v. Burra

                             (D.N.J. No. 3-23-cv-03818)


Present: MONTGOMERY-REEVES, Circuit Judge

      1. Unopposed Motion to Expedite briefing, argument, and disposition with the
         following briefing schedule:

                   Appellants’ Opening Brief due July 12, 2024
                   Government’s Response Brief due September 9, 2024
                   Appellants’ Reply Brief due October 2, 2024


                                                    Respectfully,
                                                    Clerk/sb
        Case: 24-1820     Document: 24    Page: 2     Date Filed: 05/23/2024




_________________________________ORDER________________________________
The foregoing unopposed motion to expedite the appeal with proposed briefing schedule
is GRANTED.


                                                    By the Court,

                                                    s/ Tamika R. Montgomery-Reeves
                                                    Circuit Judge

Dated: May 23, 2024
Lmr/cc: All Counsel of Record
